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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

)
JEFFERY BATTLE, et al., )
)
Plaintiffs, )
) Civil Action No.: 23-cv-1822-LKG
V. )
) Dated: August 29, 2023
MICROSOFT CORPORATION, )
)
Defendant. )
)
ORDER

On July 26, 2023, Plaintiff Battle Enterprises, LLC was directed to retain counsel within
28 days of that Order. ECF No. 4. The corporation was forewarned that failure to have counsel
enter an appearance on its behalf would result in dismissal of the Complaint. /d. To date, Battle
Enterprises, LLC has failed to retain counsel nor has it filed anything with the Court concerning
its efforts to do so. Rather, in the intervening period, Plaintiff Jeffery Battle has filed three
supplements to the Complaint. ECF Nos. 5, 7, 8. As Battle Enterprises, LLC has failed to
comply with the Court’s Order, the Complaint will be dismissed as to the corporation’s claims
and will proceed only as to Plaintiff Jeffery Battle’s claims.

As Battle has paid the full filing fee, he bears the responsibility for effecting service of
process on Defendant Microsoft Corporation. Battle may effectuate service by presenting
summons to the Clerk for signature and seal and then serving a copy of the summons and
Complaint on Defendant.

Although Battle provided summons along with the Complaint, it is deficient because the
address for the corporate Defendant is not the registered agent designated for service in
Maryland. Battle will be granted twenty-one (21) days from the date of this Order to correct the
deficiency. Battle is forewarned that failure to provide a corrected summons to the Clerk will

result in dismissal of the Complaint without further notice and without prejudice.
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Service of process on corporations and associations may be made pursuant to Fed. R. Civ.
P. 4(h). Battle may contact the office of the Maryland Department of Assessments and Taxation

at (410)767-1330 or visit the website at https://egov-maryland.gov/BusinessExpress/EntitySearch

to obtain the name and service address for Defendant’s resident agent.

Both LexisNexis and Westlaw provide free public access to the Maryland Rules. Free
public access to the Maryland Rules is also available through the Maryland State Law Library’s
website at: https://mdcourts.gov/lawlib/research/gateway-to-md-law/code-rules-laws-sources.

Pursuant to Fed. R. Civ. P. 4(c)(2), service of a summons and Complaint may be effected
by any person who is not a party and who is at least 18 years of age. Battle is reminded that
under Fed. R. Civ. P. 4(1), the person effecting service of the summons and Complaint must
promptly notify the Court,! through an affidavit, that he or she has served Defendant.

If there is no record that service was effectuated on Defendant, Battle risks dismissal of
this case. Pursuant to Fed. R. Civ. P. 4(m) and Local Rule 103.8.a., if a party demanding
affirmative relief has not effectuated service of process within 90 days of filing the Complaint,
the Court may enter an Order asking the party to show cause why the claims should not be
dismissed. If the party fails to show cause within the time as set by the Court, the Complaint
shall be dismissed without prejudice.

Accordingly, it is this 29" day of August, 2023, by the United States District Court for
the District of Maryland, hereby ORDERED that:

1. The Complaint IS DISMISSED without prejudice as to Plaintiff Battle Enterprises,

LLC’s claims;

2. Within twenty-one (21) days of the date of this Order, Battle SHALL SUBMIT a
completed summons, as instructed herein, to the Clerk and the Clerk SHALL ISSUE
summons and RETURN summons to Battle. If service copies of the Complaint were
provided, the Clerk SHALL RETURN them to the Battle;

3. Battle IS FOREWARNED that failure to return a completed summons within the time
specified will result in dismissal of the Complaint without prejudice and without

further notice; and

! If Battle does not use a private process server, and instead uses certified mail, restricted delivery,
return receipt requested, to make service, Battle must file with the Clerk the United States Postal Service
acknowledgment as proof of service showing who received service and when it was received.
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4. The Clerk SHALL SEND a copy of this Order to Battle and Battle Enterprises, LLC.

IT IS SO ORDERED.

